
379 Pa. 238 (1954)
Marble, Appellant,
v.
Marble.
Supreme Court of Pennsylvania.
Argued October 7, 1954.
November 8, 1954.
*239 Before STEARNE, JONES, CHIDSEY, MUSMANNO and ARNOLD, JJ.
*242 Ralph H. Smith, Jr., with him Smith &amp; Weaver, for appellant.
John A. Metz, Jr., with him Jacob Shulgold, and Metz, McClure, Hanna &amp; MacAlister, for appellee.
OPINION PER CURIAM, November 8, 1954:
The order of the court below is affirmed on the able opinion of Judge SOFFEL.
